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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :      CASE NO. 21-cr-123-PLF
             v.                         :
                                        :
VITALI GOSSJANKOWSKI,                   :
                                        :
                    Defendant.          :


                    GOVERNMENT’S MOTION TO EXCLUDE
                     THE PROPOSED EXPERT TESTIMONY
                  OF MARK KROLL AND JUDY SHEPARD-KEGL
                        OR FOR A DAUBERT HEARING


       The United States of America, by and through its attorney, the United States

Attorney for the District of Columbia, hereby moves to exclude Defendant Vitali

GossJankowski's proposed expert testimony from Mark Kroll and Judy Shepard-

Kegl. This Court should bar their testimony for several reasons. First, some or all of

each expert’s testimony concerns facts that are not in dispute.         Otherwise, the

proffered testimony does not amount to scientific law and lacks sufficient reliability.

The defendant’s proposed experts either fail to offer appropriate validation for their

methods, misconstrue the issues which a jury must decide, or proffer testimony that

will not assist the jury in resolving disputed facts. Accordingly, the proposed experts’

opinions do not comply with Federal Rule of Evidence 702 or the requirements of

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). The proposed

expert testimony should be excluded or alternatively, this Court should set a hearing
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for the defendant, as the proponent of the challenged evidence, to demonstrate its

admissibility.

                 RELEVANT FACTS AND PROCEDURAL HISTORY

      GossJankowski faces charges that arise from the attack on the United States

Capitol on January 6, 2021. He joined the mob of rioters outside of the Capitol during

Congress’s attempt to certify the electoral count for the 2020 Presidential Election.

At the inaugural archway 1 on the Capitol’s Lower West Terrace, another rioter

handed GossJankowski a stun gun. At trial, the Government will present evidence

that GossJankowski used this hand-held stun gun during an assault on a fully

uniformed officer of the United States Capitol Police.

      GossJankowski is now charged in a Superseding Indictment.           ECF 41. It

charges him with interfering, impeding and obstructing a law enforcement officer,

and attempting to do so, in violation of 18 U.S.C. § 231(a)(3); obstructing and

attempting to obstruct an official proceeding, in violation of 18 U.S.C. §§ 1512(c)(2)

and 2; assaulting, resisting, or impeding certain officers using a dangerous weapon,

in violation of 18 U.S.C. §§ 111(a)(1) and (b); entering and remaining in a restricted

building or grounds with a deadly or dangerous weapon, in violation of 18 U.S.C. §

1752(a)(1) & (b)(1)(A); disorderly and disruptive conduct in a restricted building or

grounds with a deadly or dangerous weapon, in violation of 18 U.S.C. § 1752(a)(2) &



1
 The archway is the location typically used on inauguration day for the President’s
entrance onto the inaugural stage. The rounded arch is a feature constructed for the
inauguration and fixed to a normal set of doors. The archway and doorway are
narrow and no more than 10 feet across and created the appearance of a tunnel on
January 6, 2021.
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(b)(1)(A); and disorderly conduct in the Capitol grounds or building, in violation of 40

U.S.C. § 5104(e)(2)(D).

       On Friday, January 6, 2023, the Government received notice, attached hereto,

that GossJankowski may seek to call Dr. Judy Shephard-Kegl (“Shephard-Kegl”) as

an expert regarding deaf communication, speech, and lipreading; and Dr. Mark Kroll

(“Kroll”) as an expert regarding “electrical devices and weapons.”

                                 LEGAL STANDARDS

       “Federal Rule of Evidence 702 imposes a special obligation upon a trial judge

to ‘ensure that any and all scientific testimony . . . is not only relevant, but reliable.’”

Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 147 (1999) (quoting Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 589 (1993)). The United States

Court of Appeals for the D.C. Circuit has outlined that “[u]nder Daubert, the district

court is required to address two questions, first whether the expert’s testimony is

based on ‘scientific knowledge,’ and second, whether the testimony ‘will assist the

trier of fact to understand or determine a fact in issue.’” Meister v. Medical

Engineering Corp., 267 F.3d 1123, 1126 (D.C. Cir. 2001). The party seeking the

admission of testimony within the scope of Rule 702 carries the burden of

demonstrating satisfaction of Daubert’s requirements by a preponderance of the

evidence. Meister, 267 F.3d at 1127, n. 9; see also United States v. Hunter, 554

Fed.Appx. 5, 8 (D.C. Cir. 2014) (the proponent of expert testimony bears the burden

of showing its admissibility); McReynolds v. Sodexho Marriott Services, Inc., 349

F.Supp.2d 30, 35 (D.D.C. 2004) (“The party offering the expert’s testimony must



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establish by a preponderance of the evidence that the expert testimony is admissible

and that the expert is qualified”).

      To meet the requirement for testimony based on ‘scientific knowledge’, the

United States Supreme Court has “identified four factors for courts to consider in

evaluating scientific validity, focusing on whether the theory or technique had been

tested, whether it had been subjected to peer review and publication, the method’s

known or potential error rate, and the method’s general acceptance in the scientific

community.” Meister, 267 F.3d at 1127. To perform this ‘gatekeeping’ role “the

district court must engage in ‘a preliminary assessment of whether the reasoning or

methodology underlying the testimony is scientifically valid and of whether that

reasoning or methodology properly can be applied to the facts in issue.’” Ambrosini v

Labarraque, 101 F.3d 129, 133 (D.C. Cir. 1996).

      The requirement for proposed expert testimony to ‘assist the trier of fact’ “goes

primarily to relevance.” Daubert, 509 U.S. at 591. The “standard requires a valid

scientific connection to the pertinent inquiry as a precondition to admissibility.” Id.

at 592.

                                      ARGUMENT

      GossJankowski seeks to present opinion testimony from one proposed expert

that supposedly concerns the weapon he possessed during the attack on the Capitol

and from another proposed expert concerning his ability to speak and to read lips.

Both proposed experts have proffered testimony on matters that are irrelevant.

Proffered testimony relating to the defendant’s weapon depends on factual matters



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any laymen or juror is capable of assessing without assistance from an expert;

otherwise, the proffered testimony lacks sufficient indicia of reliability while the

proposed expert lacks sufficient qualifications to offer expertise within the scope of

the defendant’s notice. Testimony from both experts should be excluded.

      I.        Grounds For Exclusion Of Opinions From Mark Kroll

      A. Uncontested Facts Do Not Provide A Basis For Expert Testimony

      The defendant proffers testimony from Mark Kroll that the weapon charged in

Counts Three, Four and Five of the superseding indictment was not “a TASER®

electrical weapon.” Expert Report of Mark Kroll (“the Kroll Report”) (attached hereto)

at 4. No count in the indictment, however, contains the word “TASER” in all capital

letters followed by the symbol “®”, an apparent reference to a trademark registered

with the United States Patent and Trademark Office. 2 No charge in the indictment

depends on the manufacturer or specific brand or model of any weapon. The United

States does not intend to prove that the weapon GossJankowski used or carried was

a "TASER®”, or in other words, the specific branded product with a registered

trademark held first by Taser International, Inc. and then by Axon Enterprise, Inc.

More generically, the United States anticipates proving that the defendant used and

carried a stun gun which is distinct from the trademarked TASER® discussed in the

Kroll report.




2
   Taser is often used as a synonym for stun gun.                     See, e.g.,
https://www.dictionary.com/browse/taser; https://www.businessinsider.com/google-
taser-xerox-brand-names-generic-words-2018-5.
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      Accordingly, there is no dispute over the use of a trademarked "TASER®.”

Undisputed facts do not require expert analysis, and in the absence of a dispute,

expert testimony will not provide assistance to a jury. Accordingly, the proffered

conclusion that GossJankowski did not use the TASER® brand of an electrical

weapon does not justify the use of expert testimony.

      B. This Court Should Exclude Proffered Testimony About The Identity Of The
         Defendant’s Weapon

      The defense proffers Kroll’s claim that he has identified the weapon

GossJankowski used and carried on January 6, 2021 as either a “Vipertek VTS-979

or a POLICE 916.” Kroll Report at 7. According to that report, Kroll appears to have

visually compared various unspecified devices to images of the defendant holding a

weapon on the Capitol grounds and has decided that the two weapons mentioned

above appeared similar to the weapon in the photograph. Excluding captions under

photographs, the Kroll Report’s section on the “identification” of the weapon consists

of three sentences.

      Kroll’s visual comparison of an unexplained selection of weapons is one that

any layman could make without scientific, technical or other specialized knowledge.

Just like the jury in United States v. Naegele, 471 F.Supp.2d 152, 159 (D.D.C. 2007)

needed no assistance to decide what it hears, any jury selected for this case will not

need assistance to decide what it sees. Indeed, in the section purportedly identifying

GossJankowski’s weapon, the Kroll report makes no attempt to characterize the

process of identification as one requiring specialized knowledge, skill, training,

education, or experience. See F.R.E. 702. No particular principles or methodology

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for the identification of the weapon are identified in the report beyond an ordinary

visual examination. The report provides no information addressing the likelihood of

error for the identification. If any methodology was used to select weapons to compare

to images of GossJankowski with a stun gun, the Kroll report does not identify that

process. The absence of such information illustrates the non-scientific, non-technical,

non-expert nature of the comparison made for the purported identification of the

defendant’s weapon.

      Since a comparison of how weapons appear is not beyond the capability of

ordinary jurors, “expert” testimony for the comparison would be inappropriate.

United States v. Gonzalez-Maldonado, 115 F.3d 9, 17–18 (1st Cir. 1997) ("Expert

testimony on a subject that is well within the bounds of a jury's ordinary experience

generally has little probative value. On the other hand, the risk of unfair prejudice is

real. By appearing to put the expert's stamp of approval on the government's theory,

such testimony might unduly influence the jury's own assessment of the inference

that is being urged") (citation omitted); Sonrisa Holding, LLC v. Circle K Stores, Inc.,

835 Fed.Appx. 334, 339 (10th Cir. 2020) ("expert testimony is unnecessary if the

question does not require specialized or technical knowledge.”) (quotations omitted);

United States v. Davis, 772 F.2d 1339, 1343–44 (7th Cir. 1985) ("Expert testimony is

not admissible under Rule 702 if it will not assist the jury in understanding the

evidence or determining a fact in issue or it is purely speculative."); United States v.

Montas, 41 F.3d 775, 783 (1st Cir. 1994) (“There is no more certain test for

determining when experts may be used than the common sense inquiry whether the



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untrained layman would be qualified to determine intelligently and to the best degree

the particular issue without enlightenment from those having a specialized

understanding of the subject involved in the dispute.”). The proffered testimony from

Kroll poses two potential problems. First, it seeks to place an expert’s stamp of

approval on a determination that the jury can make on its own. Second, it opens a

backdoor for the defense to admit evidence that would otherwise lack proper

foundation.

      Accordingly, this Court should exclude the proffered testimony about

identification of the defendant’s weapon, or at a minimum, require the defendant to

demonstrate its admissibility.

      C. Kroll’s Proposed Identification Testimony And Resulting Conclusions Are
         Speculative

      An expert’s testimony must be “based upon sufficient facts or data” and must

also be “the product of reliable principles and methods,” applied “reliably to the facts

of the case.” Fed. R. Evid. 702. Here, however, the Kroll Report’s conclusions depend

on facts that have not been shown to exist. Thus, the defense has not established a

proper basis for admission of his testimony.

      While Kroll’s purported identification of the defendant’s weapon is the result

of simple observation that any juror can make without assistance, his comparison

suffers from a critical flaw. His report is silent on whether other devices may use the

same housing or have the same appearance in addition to the devices pictured in his

report that appear to match GossJankowski’s stun gun. Because the Kroll Report

provides no facts or data giving a basis to believe no other matching devices exist, the

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conclusion that the correct devices and their properties have been identified and

tested is speculative. The identification is accordingly not based on data that is

reliable. Thus, the suggestion that Kroll has tested the correct devices with the right

characteristics is equally unreliable. Put differently, Kroll's proffered testimony that

is not sufficiently tied to the facts of this case. See Naegele, 471 F.Supp.2d at 157. It

should not be admitted.

      D. Kroll Is Not Qualified To Offer Opinion Testimony On Weapons Generally
         Or On What Qualifies As A Weapon

      The defense has proffered that Kroll is “an expert regarding … weapons.” His

report summarizes his qualifications as follows:

      I am a Biomedical scientist with a primary specialty in bioelectricity or
      the interaction of electricity and the body. I hold a B.S. degree in
      Mathematics and a M.S. degree and a Ph.D. degree in Electrical
      Engineering from the University of Minnesota and a M.B.A. degree from
      the University of St. Thomas. I have invested most of my career
      researching and developing electrical devices to diagnose and treat
      disease. The primary focus is the effect of electrical shocks on the human
      body.

      This involves researching, lecturing, and publishing on electric shocks
      and their effects on the human body. It includes lectures throughout
      Europe, South America, and Asia (in 35 countries) as well as at many of
      the major universities and medical centers of the United States (U.S.).
      Usually, the typical audience member is a cardiologist,
      electrophysiologist, medical examiner, or forensic pathologist. With over
      380 issued U. S. patents and numerous pending and international
      patents, I currently hold the most patents on electrical medical devices
      of anyone in the world. Over 1 million people have had devices with some
      of these patented features in their chest, monitoring every heartbeat.

Kroll Report at 4. The majority of his experience concerns electrical medical devices,

although he has also published and testified about the TASER®. Neither his report

nor his resumé provide any basis to conclude that Kroll is an expert in weapons

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generally. And even if Kroll can be viewed as an expert on the TASER®, such

expertise is irrelevant to this case because the parties agree that on January 6, 2021,

the weapon GossJankowski used and carried was not the trademarked TASER®

distinguished in the Kroll Report.

      Neither his report nor his resumé provide any indication that Kroll is a lawyer

or has any legal training. Similarly, the Kroll report and accompanying resumé

provide no indication that Kroll has any law enforcement background or training, or

military other experience that would qualify him as an expert for what constitutes a

weapon generally or a weapon that is deadly or dangerous.

      From his resumé, Kroll appears to be very experienced and accomplished in

his fields. He appears to have had a successful career, broadly stated, in researching

and developing electrical devices to research and treat disease. His areas of expertise,

however, have little or no connection to the unique events of January 6, 2021,

including what constitutes a weapon during a riot, what may have endangered law

enforcement officers confronting a violent mob, or what weapons caused police officers

physical pain or impairment, or loss of physical or mental function. 3 Yet with respect

to a device that has not been conclusively identified, the defense seeks to offer Kroll

as witness who will testify that the weapon charged in Counts Three, Four, and Five

was “not a deadly or dangerous weapon.” Kroll report at 17.




3
 While other courts addressing unrelated cases may have allowed Kroll to testify as
an expert, the relevant inquiry is not whether his testimony has been admitted in the
past but whether his testimony in the instant case is sufficiently reliable and relevant
to warrant admission. McReynolds, 349 F.Supp.2d at 45.
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      Kroll is not a judge or a lawyer. He has no apparent legal training. He has

not identified any experience he has with criminal law. He was not present at the

Capitol on January 6, 2021, and did not observe the wide variety of items used or

repurposed as weapons during the events of that day. He proffers no experience with

or knowledge of what has constituted a dangerous weapon during other riots or civil

disturbances. He is not qualified to opine under the guise of expertise what was or

was not a dangerous weapon in the context of an assault on a federal officer or the

restricted area of the Capitol grounds. This Court should accordingly exclude his

testimony.

      E. Kroll’s Proposed Testimony Is Not Relevant

      To convict GossJankowski for violating 18 U.S.C. § 111(a) and (b) as charged

in Count Three, the United States must show that while using a deadly or dangerous

weapon, he forcibly assaulted, resisted, opposed, impeded, intimidated or interfered

with an officer and employee of the United States, while such officer or employee was

engaged in the performance of his official duties. Id. The analysis of when a weapon

is deadly or dangerous focuses on the defendant’s use or intended use of the object

and not solely on its inherently dangerous qualities, if any. Courts have commonly

held that “a deadly or dangerous weapon includes ‘any object which, as used or

attempted to be used, may endanger the life of or inflict great bodily harm on a

person.’ United States v. Sanchez, 914 F.2d 1355, 1358-59 (9th Cir. 1990) (collecting

cases). “[T]he object’s latent capability . . . coupled with the manner of its use, is

determinative.” United States v. Loman, 551 F.2d 164, 169 (7th Cir. 1977) (citation



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omitted); United States v. Bullock, 970 F.3d 210, 215 (3d Cir. 2020); see also United

States v. Klein, 533 F.Supp.3d 1, 10-11 (D.D.C. 2021); United States v. Chansely, 525

F.Supp.3d 151, 162 (D.D.C. 2021).

      Otherwise innocuous objects not designed or intended to endanger life or cause

injury may nevertheless qualify as “dangerous weapons” within the meaning of

Section 111(b). E.g., Loman, 551 F.2d at 169 (walking stick brought down on victim’s

head was a dangerous weapon although the stick did not cause serious injury); United

States v. Murphy, 35 F.3d 143, 147 (4th Cir. 1994) (although stationary, steel bars in

jail cell were a dangerous weapon when correctional officer’s head was struck against

them); United States v. Gholston, 932 f.2d 904, 905 (11th Cir. 1991) (desk was a

dangerous weapon when overturned on the victim); Chansely, 525 F.Supp.3d at 162

(objects that have perfectly peaceful purposes may be turned into dangerous

weapons) (internal quotation omitted). To convict under Section 111(b) based on the

use of a deadly or dangerous weapon, proof of physical contact with the victim is not

required. United States v. Siler, 734 F.1290, 1297 (11th Cir. 2013), cert. denied, 572

U.S. 1025 (2014).

      Sections 18 U.S.C. §§ 1752(a)(1) and 1752(a)(2), as charged in Counts Four and

Five, prohibit entering and remaining in any restricted building or grounds without

lawful authority to do so, and engaging in disruptive or disorderly conduct in any

restricted building or grounds when other specified conditions are met. The penalties

for each of these offenses increase from imprisonment for not more than one year to

imprisonment for not more than 10 years if the defendant “during and in relation to



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the offense, uses or carries a deadly or dangerous weapon or firearm.” 18 U.S.C. §

1752(b). Both Counts Four and Five allege that GossJankowski “did use and carry a

deadly and dangerous weapon …” ECF 41:3. 4

      Under the provision for carrying a deadly or dangerous weapon, the weapon

must be capable of causing serious bodily injury and the defendant must have carried

the weapon with the intent to cause such injury; however, the defendant need not

have actually used the weapon in that manner. United States v. Robertson, No. 21-

cr-34 (CRC), --- F.Supp.3d ---, 2022 WL 2438546 at *6 (D.D.C. July 5, 2022). Under

the carrying prong of Section 1752(b), the evaluation of dangerousness for a weapon

that was not inherently so depended on the defendant’s conduct and intent. Id. at 7.

As the decision in Robertson explained,

      Consider a pen, for example. It cannot be criminal to simply carry a pen.
      But a fact finder's assessment may change if there were evidence that a
      defendant tightly gripped a pen in his hand, raised to his chest, with its
      tip facing out toward an approaching officer. Even if the defendant never
      used the pen to jab at the officer, a jury may find that he carried the pen
      with the intent to use it in a manner capable of causing serious injury.

Id.

      What the cases above demonstrate, regardless of whether they address Section

111(b) or 1752(b), is that an item can qualify as a deadly or dangerous weapon without

being inherently dangerous and without being designed to be dangerous. An item

can qualify as a deadly or dangerous weapon even when its common use or standard




4
 The United States may charge in the conjunctive and prove its case disjunctively.
United States v. Brown, 504 F.3d 99, 104 (D.C. Cir. 2007); United States v. Joseph,
169 F.3d 9, 12 (D.C. Cir. 1999).
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purpose is utterly harmless. Whether an item qualifies as a deadly or dangerous

weapon may depend on its inherent capabilities or its capability to cause harm in a

particular context, like the chest-high pen gripped with its tip pointed towards an

approaching officer.

       The Kroll report reviews certain characteristics of a device that may or may

not, despite visual similarities, have been the same type of device GossJankowski

possessed on January 6, 2021.      Even assuming, however, that the Kroll Report

correctly identifies GossJankowski’s stun gun, the characteristics that the report

reviews do not provide an assessment of the device in any relevant context. The

Report could just as easily state that unlike a TASER®, a pen does not expel

projectiles or emit an electrical charge capable of causing death or serious bodily

injury. Nevertheless, if aimed at or thrust into an eye or other sensitive area, a pen,

as in the example from Robertson, becomes a deadly or dangerous weapon. If either

end of the stun gun GossJankowski possessed were aimed at or thrust into an officer’s

eye, for example, a jury could reasonably find that the stun gun was a deadly or

dangerous weapon. It could do so even if the stun gun were used or carried without

batteries.

      The testimony proffered through the Kroll report will not assist any jury and

has no relevance to this case because it is disconnected from any appropriate factual

context. The measurements taken from the stun gun in a sterile laboratory or quiet

workspace have no bearing on the harm a pronged electrical device can cause when

directed towards the head of an already victimized officer engulfed by a mob and



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under attack. Dr. Kroll can offer no testimony about GossJankowski’s intent as he

extended the stun gun towards that victim’s head. He cannot say if GossJankowski

used the weapon consistently with the purpose it was designed for since Kroll was

not present at the Capitol on January 6. For all he knows, GossJankowski intended

to use he stun gun like baton or a club or a rock. Absent context, or any consideration

of facts such as GossJankowski’s behavior, his interactions with police officers on

January 6, 2021, his display and handling of the stun gun, the circumstances

surrounding his use and attempted use of the stun gun, and the effect of the stun gun

on others, to mention only some of the relevant details a jury can use to determine

the stun guns capability to endanger, the information in the Kroll Report cannot

meaningfully assist any factfinder.

      Unlike Kroll, a jury will receive evidence of the context for GossJankowski’s

use or carrying of the stun gun he acquired during the attack on the Capitol. Like

the jury in Robertson, and like juries that have considered assaults under 111(b), the

jury in this case will have the capability of determining whether the defendant’s stun

gun was used or attempted or intended to be used to inflict the requisite bodily harm.

Because the Kroll report addresses no facts or context tied to the circumstances of

this case, the defense has failed to demonstrate relevance or that the admission of

Kroll’s testimony is appropriate.     Accordingly, this Court should exclude Kroll’s

testimony.

      II.    Grounds To Exclude The Testimony Of Dr. Judy Shepard-Kegl
      Dr. Shepard-Kegl opines that “Mr. GossJankowski … is neither comfortable

nor competent at spoken English”, that he is “completely unable to understand

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spoken English”, and that GossJankowski “at no time during the events of January

6th . . . could he have accessed or shared communication with anyone . . . via lipreading

and speech.” See Linguistic Consulting Service Assessment Report, attached hereto,

at p. 15. The United States has not alleged any crime that requires proof of

GossJankowski’s ability to lipread, understand spoken English, or speak English

himself.

      The United States does not anticipate offering any evidence in its case-in-chief

to dispute the defendant’s inability to lipread, understand spoken English, or speak

English himself.    Insofar as these claims are not disputed, expert analysis is

unnecessary.

      Moreover, whether or not GossJankowski can read lips is not a fact that

requires expertise, technical understanding, or specialized education.            If the

GossJankowski chooses to present a case and take the witness stand, he could testify

to this information. Alternatively, he can call lay witnesses such as friends, family,

teachers, or others with knowledge of his abilities.

      The conclusions in Shepard-Kegl’s report fall easily within the bounds of a

juror’s ordinary experience. See Gonzalez-Maldonado, 115 F.3d at 17–18; Sonrisa

Holding, 835 Fed.Appx. at 339; Davis, 772 F.2d at 1343–44; Montas, 41 F.3d at 783.

Her report concerns facts which jurors are capable of deciding for themselves. Expert

testimony will accordingly not assist a jury but will create prejudice from the

inaccurate impression that otherwise ordinary facts have greater significance when




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presented with the imprimatur of expertise. Accordingly, this Court should also

exclude Dr. Shepard-Kegl’s proposed testimony.

                                  CONCLUSION

      For all of the foregoing reasons, this Court should exclude the testimony of the

defendant’s proposed experts. Alternatively, the Court should hold a hearing for the

defense to demonstrate the admissibility of testimony from its proposed experts.

                                       Respectfully Submitted,

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                                       D.C. Bar No. 481052

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